      5:15-cr-20040-JEL-EAS        Doc # 55     Filed 11/09/15    Pg 1 of 1    Pg ID 199




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v                                                          Case No. 15-CR-20040
                                                           JUDITH E. LEVY
DERRICK WHITE –              D1,                           United States District Judge
LESHOUN BYRD –               D2,
GREGORY JOHNSON –            D3,
JIMMY MCWHERTER -            D4,
TASHUN WHITE -               D6,
KRISTIE MCWHERTER -          D7

            Defendant.
______________________________/

               AMENDED NOTICE TO APPEAR/SCHEDULING ORDER

        MOTIONS DUE BY: November 27, 2015

           The defendant is hereby notified to appear before the Judith E. Levy, United States
District Judge, at 200 East Liberty Street, Ann Arbor, MI 48104 for the following proceedings:

        PLEA HEARING/CUT-OFF: December 15, 2015 @ 2:00 p.m.

        FINAL PRETRIAL CONFERENCE: December 22, 2015 @ 10:00 a.m.

        JURY TRIAL: December 28, 2015 @ 8:30 a.m.


Dated: November 9, 2015                                    s/Judith E. Levy
       Ann Arbor, Michigan                                 JUDITH E. LEVY
                                                           United States District Judge

                               CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on November 9, 2015.

                                                    s/Felicia M. Moses
                                                    FELICIA M. MOSES
                                                    Case Manager
